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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

MERCK & CO., INC.,

                Plaintiff,

      v.                                       Civ. No. 1:23-1615 (CKK)

XAVIER BECERRA, U.S. Secretary of
Health & Human Services; et al.,

                Defendants.


                               [PROPOSED] ORDER

       Upon consideration of Plaintiff’s Motion for Summary Judgment, the briefing

in support of and in opposition to that Motion, and the entire record in this case, the

Court concludes that there are no issues of material fact and that Plaintiff is entitled

to judgment as a matter of law. Accordingly, it is hereby ORDERED that Plaintiff’s

Motion for Summary Judgment is granted.

      The Court DECLARES that the “Drug Price Negotiation Program,” 42 U.S.C.

§ 1320f et seq., effects takings of private property without just compensation in

violation of the Fifth Amendment; and unlawfully compels speech in violation of the

First Amendment.

      It is further ORDERED that Defendants are permanently enjoined from

enforcing against Plaintiff any obligation to enter “agreements” under 42 U.S.C.

§ 1320f-2 or § 1320f-3, or the terms of any “agreements” entered thereunder.

       This is a final, appealable order.
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                      HONORABLE COLLEEN KOLLAR-KOTELLY
                      UNITED STATES DISTRICT JUDGE
